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                                  Central District of California


BROIDY CAPITAL MANAGEMENT LLC and
         ELLIOTT BROIDY




                                                                   2:18-cv-02421-JFW-E




                           ON FIRST AMENDED COMPLAINT
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